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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

ELIZABETH LUBECK and                               )     Case No. 1:20-cv-04881
ALAN LUBECK,                                       )
                                                   )     Honorable Sharon Johnson Coleman
                Plaintiffs,                        )
   vs.                                             )
                                                   )
ALLIANT CAPITAL MANAGEMENT,                        )
LLC,                                               )
                                                   )
                Defendant.                         )
                          PLAINTIFFS’ NOTICE OF SETTLEMENT

         Plaintiffs, Elizabeth Lubeck and Alan Lubeck, by and through their undersigned counsel,

advise the Court that the parties have reached a settlement in principle of all claims in this action.

The parties are currently finalizing the terms of a written agreement and Plaintiffs request this

Court keep this matter open for a period of 45 days to allow the parties to finalize the settlement,

and continue to retain jurisdiction over this matter until Plaintiffs’ Notice of Dismissal is filed.

Dated: September 17, 2020                              Respectfully submitted,

                                                       Elizabeth Lubeck and Alan Lubeck

                                                       By: /s/ Rusty Payton
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